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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

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THE FEDERAL SAVINGS BANK, Case No.: 21-cv-01400-LDH-MMH
Plaintiff,
-against- STIPULATION OF CLOSURE
PAUL J. MANAFORT, et al.,
Defendants.
x

 

IT IS HEREBY STIPULATED AND AGREED by and among Plaintiff The Federal
Savings Bank and Defendants Paul J. Manafort and Kathleen B. Manafort through their
undersigned respective counsel that the above-entitled action may be closed by this Court on the
ground that the mortgaged premises were sold at public auction pursuant to the Judgment of
Foreclosure and Sale entered in this matter and Plaintiff previously waived its right to seek a
deficiency judgment against Defendants. Hence, this case is concluded. This Stipulation may be

executed in counterparts and via electronic signature.

  

 

 

 

 

 

Dated: April 12, 2022 April 12, 2022
MELTZER, LIPPE, GOLDSTEIN LAW OFFICES OF
fj &) LEN? LLP BRUCE E. BALDINGER, LLP
By: Pwe Eke, | rm uf feken ssn
Thomas J. McGowan, Esq. Bruce E. Bafdihger, Esq.
Attorneys for Plaintiff Attorneys for Defendants
190 Willis Avenue 365 South Street
Mineola, New York 11501 Morristown, New Jersey 07960
(316) 747-0300 (908) 218-0060
tmegowan(@meltzerlippe.com bbaldinger(@baldingerlaw.com
SO ORDERED:
U.S.D.J.
Dated:

 

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